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                       UNITED STATES DISTRICT COURT
                                       District of Minnesota



R. Alexander Acosta, Secretary of Labor,           JUDGMENT IN A CIVIL CASE
United States Department of Labor
                                 Plaintiff(s),
v.                                                       Case Number: 18-2942 ECT/TNL
Triple V Concrete Construction, Inc.; Layne
Vanderwerf; and Jennifer Vanderwerf

                                 Defendant(s).


☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
   and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

     1. The Joint Motion to Approve Proposed Consent Judgment [ECF No. 10] is GRANTED;
     and
     2. The Proposed Consent Judgment [ECF No. 9] is APPROVED and shall be filed as an
     attachment hereto.


      Date: 2/4/2019                                       KATE M. FOGARTY, CLERK

                                                                    s/A. Linner
                                                       (By) A. Linner, Deputy Clerk
